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UNITED STATES DISTRICT coURT w B"' %f-
FOR THE WESTERN DISTRICT OF TENNESSEE .
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Plaintiff,
v. Cr. No. 05-20156-D
JOHN MURRAY, JR.,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO RESET REPORT DATE

For good cause shown, the report date in this matter currently set for Thursday, July 21, 2005,

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

